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                                                                   REGISTER OF ACTIONS
                                                                     C a s e N o . 16-DCV-229825


  Alicia Fortes vs Allstate Vehicle and Property Insurance Company and                                           Case Type: Contract - Other Contract
  Mollie Zamora                                                                                                  Date Filed: 02/08/2016
                                                                                                                   Location: 240th District Court


                                                                           PARTY INFORMATION
                                                                                                                                  Attorneys
  Defendant or Allstate Vehicle and Property Insurance                                                                            Roger D. Higgins
  Respondent   Company                                                                                                             Retained
                Dallas, TX 75201-3136                                                                                             214-871 -8256(W)


  Defendant or Zamora, Mollie                                                                                                     Roger D. Higgins
  Respondent    Dallas, TX 75267                                                                                                   Retained
                                                                                                                                  214-871 -8256(W)


  Plaintiff or      Fortes, Alicia                                                                                                Matthew J. Worrall
  Petitioner         Houston, TX 77007                                                                                             Retained
                                                                                                                                  713-963-8881 (W)
                                                                     EVENTS & ORDERS OF THE COURT
                 OTHER EVENTS A N D HEARINGS
  02/08/2016 Docket Sheet
               Docket Sheet
  02/08/2016 Petition       Doc ID# 1
               Plaintiff's Original Petition
  02/08/2016 Case Information Sheet
               Civil Case Information Sheet
  02/08/2016 Request        Doc ID# 2
               Request for Process
  02/17/2016 Issuance        Doc ID# 3
               Citation Issue to Allstate Vehicle and Property Insurance Company
  02/17/2016 Citation by Certified Mail
               CMRRR# 9414 7266 9904 2957 5309 32
                Allstate Vehicle and Property Insurance Company       Served                 02/23/2016
                                                                      Returned               02/29/2016
  02/17/2016 Issuance        Doc ID# 4
               Citation Issue to Mollie Zamora
  02/17/2016 Citation by Certified Mail
               CMRRRtt 9414 7266 9904 2957 5309 49
                Zamora, Mollie                                        Served                 02/24/2016
                                                                      Returned               02/29/2016
  03/18/2016 Answer/Contest/Response/Waiver           Doc ID# 5
               Defendant Allstate Vehicle and Property Insurance and Mollie Zamora's Original Answer
                                                                         FINANCIAL INFORMATION



                 Defendant or Respondent Allstate Vehicle and Property Insurance Company
                 Total Financial Assessment                                                                                                                2.00
                 Total Payments and Credits                                                                                                                2.00
                 Balance Due as of 03/21/2016                                                                                                              0.00

  03/21/2016 Transaction Assessment                                                                                                                        2.00
  03/21/2016 E-filing                          Receipt # 2016-16054-DCLK                            Allstate Vehicle and Property Insurance Company       (2.00)



                 Plaintiff or Petitioner Fortes, Alicia
                 Total Financial Assessment                                                                                                              575.00
                 Total Payments and Credits                                                                                                              575.00
                 Balance Due as of 03/21/2016                                                                                                              0.00

 02/08/2016      Transaction Assessment                                                                                                                   575.00
 02/08/2016      E-filing                      Receipt # 2016-07275-DCLK                            Fortes, Alicia                                      (575.00)


http://tylerpaw.co.fort-bend.tx.us/CaseDetail.aspx?CaseID=1546540[3/21/2016 1:09:08 PM]
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http://tylerpaw.co.fort-bend.tx.us/CaseDetail.aspx?CaseID=1546540[3/21/2016 1:09:08 PM]
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Case 4:16-cv-00774 Document 1-2 Filed in TXSD on 03/24/16 Page 4 of 35
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                                                                                                                  Filed
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                                                                                                 Annie Rebecca Elliott
                                                                                                         District Clerk
                                                                                              Fort Bend County, Texas
                                                                                               Debra Elizondo

                                         Cause No. 16-DCV-229825

 ALICIA FORTES                                        §                    IN THE DISTRICT COURT
                                                      §
                            Plaintiff,                §
 v                                                    §               FORT BEND COUNTY, TEXAS
                                                      §
                                                      §        Fort Bend County - 240th Judicial District Court
 ALLSTATE VEHICLE AND PROPERTY                        §                        JUDICIAL DISTRICT
 INSURANCE COMPANY AND MOLLIE                         §
 ZAMORA                                               §
                                                      §
                            Defendant


                            PLAINTIFF'S ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Alicia Fortes, Plaintiff (hereinafter referred to as "Plaintiff"), and file this

Original Petition against Defendants, Allstate Vehicle and Property Insurance Company

("Allstate") and Mollie Zamora ("Zamora") (to whom will be collectively referred to as

"Defendants"), and respectfully would show this court as follows:

                                              PARTIES


1.      Plaintiff, Alicia Fortes, is an individual residing in and/or owning property in Fort Bend

County, Texas.

2.      Defendant, Allstate, is an insurance company that engaged in the business of insurance in

the State of Texas at all times material to this action. This defendant may be served by serving its

Registered Agent for service of process: C T Corporation System, 1999 Bryan Street, Suite 900,

Dallas, Texas 75201-3136, via certified mail, return receipt requested.




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3.      Defendant, Mollie Zamora, is an individual residing in and domiciled in the State of Texas.

This defendant may be served via certified mail, return receipt requested at PO Box 672041,

Dallas, Texas 75267.

                                         DISCOVERY            LEVEL


4.      Plaintiff intends for discovery to be conducted under Level 2 of Rule 190 of the Texas

Rules of Civil Procedure.

                                             JURISDICTION


5.      The Court has jurisdiction over this controversy because the damages are within the

jurisdictional limits of this court Plaintiff is seeking monetary relief over $200,000 but not more

than $1,000,000. Plaintiffreserves the rightto amend this petition during and/or after the discovery

process.

6.      The Court has jurisdiction over Defendant, Allstate, because this defendant engaged in the

business of insurance in the State of Texas, and PlamtifPs causes of action arise out of defendant's

business activities in the State of Texas.

7.     The Court has jurisdiction over Defendant, Zamora, because this defendant engages in the

business of adjusting insurance claims in the State of Texas, and Plaintiffs causes of action arise

out of defendant's business activities in the State of Texas.

                                                  VENUE


8.     Venue is proper in Fort Bend County, Texas, because the insured property is situated in

Fort Bend County, Texas.    T E X . C I V . PRAC. & R E M . C O D E   § 15.032.

                                                  FACTS


9.     Plaintiff is the owner of a property insurance policy ("the Policy") issued by Allstate.



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10.      Plaintiff owns the insured property located at 3807 Cedar Valley, in Fort Bend County

(hereinafter referred to as "the Property"). Allstate sold the Policy insuring the Property to

Plaintiff.

11.      On or about October 2, 2014, a hail storm and/or windstorm struck Fort Bend County,

Texas, causing severe damage to homes and businesses throughout the region ("the Storm")

including the Property. The Storm damaged the Property including extensive damage to Plaintiff's

roof.

12.      Plaintiff subsequently submitted a claim to Allstate for the damage the Property sustained

as a result of the Storm. Plaintiff requested that Allstate cover the cost of repairs, including but

not limited to, replacement of the roof pursuant to the property.

13.      Defendant Allstate assigned Zamora as the individual adjuster ("the adjuster") on the claim.

The adjuster was improperly trained and failed to perform a thorough investigation of the claim

spending an inadequate amount of time inspecting Plaintiffs property. The adjuster conducted a

substandard inspection of Plaintiff s Property evidenced by the adjuster's report, which failed to

include all of Plaintiff s storm damages noted upon inspection. The damages the adjuster included

in the report were grossly undervalued and did not allow for adequate funds to cover the cost of

repairs to all the damages sustained.

14.      Allstate and its personnel failed to thoroughly review and properly supervise the work o f

their assigned adjusters which ultimately led to the approving an improper adjustment and an

inadequately unfair settlement of Plaintiff s claim. As a result of Defendants' wrongful acts and

omissions set forth above and further described herein, Plaintiff was wrongfully denied on the

claim and has suffered damages.


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15.      Together, Defendants set about to deny and/or underpay on properly covered damages.

Defendants failed to provide full coverage for the damages sustained by Plaintiff and under-scoped

Plaintiffs damages, thereby denying adequate and sufficient payment on Plaintiff's claim. As a

result of Defendants' unreasonable investigation, Plaintiffs claim was improperly adjusted, and

Plaintiff was wrongfully denied on the claim and has suffered damages.          The mishandling of

Plaintiffs claim has also caused a delay in Plaintiffs ability to fully repair the Property, which has

resulted in additional damages. To this date, Plaintiff has yet to receive the full payment that he

is entitled to under the Policy.

16.      As detailed in the paragraphs below, Allstate wrongfully denied Plaintiffs claim for repairs

of the Property, even though the Policy provided coverage for losses such as those suffered by

Plaintiff.

17.      To date, Allstate continues to delay in the payment for the damages to the Property. As

such, Plaintiff has not been paid in full for the damages to the Property.

18.      Defendant Allstate failed to perform its contractual duties to adequately compensate

Plaintiff under the terms of the Policy. Specifically, it refused to pay the full proceeds of the

Policy, although due demand was made for proceeds to be paid in an amount sufficient to cover

the damaged property, and all conditions precedent to recovery upon the Policy had been carried

out and accomplished by Plaintiff. Allstate's conduct constitutes a breach of the insurance contract

between Allstate and Plaintiff.

19.      Defendants misrepresented to Plaintiff that the damage to the Property was not covered

under the Policy, even though the damage was caused by a covered occurrence. Defendants'

conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. T E X .
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INS. C O D E § 541.060(a)(1).

20.      Defendants failed to make an attempt to settle Plaintiffs claim in a fair manner, although

they were aware of their liability to Plaintiff under the Policy. Defendants' conduct constitutes a

violation o f the Texas Insurance Code, Unfair Settlement Practices.             TEX. INS.. CODE §

541.0060(a)(2)(A).

21.      Defendants failed to explain to Plaintiff the reasons for their offer of an inadequate

settlement. Specifically, Defendants failed to offer Plaintiff adequate compensation, without any

explanation why full payment was not being made. Furthermore, Defendants did not communicate

that any future settlements or payments would be forthcoming to pay for the entire losses covered

under the Policy, nor did they provide any explanation for the failure to adequately settle Plaintiffs

claim.    Defendants' conduct is a violation of the Texas Insurance Code, Unfair Settlement

Practices. T E X . INS. CODE § 541.060(a)(3).

22.      Defendants failed to affirm or deny coverage of Plaintiffs claim within a reasonable time.

Specifically, Plaintiff did not receive timely indication of acceptance or rejection, regarding the

full and entire claim, in writing from Defendants. Defendants' conduct constitutes a violation o f

the Texas Insurance Code, Unfair Settlement Practices. T E X . INS. CODE § 541.060(a)(4).

23.      Defendants refused to fully compensate Plaintiff, under the terms of the Policy, even

though Defendants failed to conduct a reasonable investigation. Specifically, Defendants

performed an outcome-oriented investigation of Plaintiffs claim, which resulted in a biased,

unfair, and inequitable evaluation of Plaintiffs claim on the Property. Defendants' conduct

constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE

§ 541.060(a)(7).
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24.     Defendant Allstate failed to meets it obligations under the Texas Insurance Code regarding

timely acknowledging Plaintiffs claim, beginning an investigation of Plaintiffs claim, and

requesting all information reasonably necessary to investigate Plaintiffs claim, within the

statutorily mandated time of receiving notice of Plaintiffs claim. Allstate's conduct constitutes a

violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE § 542.055.

25.     Defendant Allstate failed to accept or deny Plaintiffs f u l l and entire claim within the

statutorily mandated time of receiving all necessary information. Allstate's conduct constitutes a

violation of the Texas Insurance Code, Prompt Payment of Claims. T E X . INS. CODE § 542.056.

26.     Defendant Allstate failed to meet its obligations under the Texas Insurance Code regarding

payment of claim without delay. Specifically, it has delayed f u l l payment of Plaintiffs claim

longer than allowed and, to date, Plaintiff has not received f u l l payment for the claim. Allstate's

conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of Claims. T E X

INS. C O D E § 542.058.

27.     From and after the time Plaintiffs claim was presented to Defendant Allstate, the liability

of Allstate to pay the full claim in accordance with the terms of the Policy was reasonably clear.

However, Allstate has refused to pay Plaintiff in full, despite there being no basis whatsoever on

which a reasonable insurance company would have relied to deny the f u l l payment Allstate's

conduct constitutes a breach of the common law duty of good faith and fair dealing.

28.     Defendants knowingly or recklessly made false representations, as described above, as to

material facts and/or knowingly concealed all or part of material information from Plaintiff.

29.    As a result of Defendants' wrongful acts and omissions, Plaintiff was forced to retain the

professional services of the attorney and law firm who are representing them with respect to these


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causes of action.

30.        Plaintiffs experience is not an isolated case. The acts and omissions Allstate committed

in this case, or similar acts and omissions, occur with such frequency that they constitute a general

business practice of Allstate withregardto handlingthese types of claims. Allstate's entire process

is unfairly designed to reach favorable outcomes for the company at the expense of the

policyholders.

                                         CAUSES OF ACTION

31.        Each of the foregoing paragraphs is incorporated by reference in the following:

      I.        Causes of Action Against Zamora

32.        Allstate assigned Zamora to adjust this claim.         Zamora was improperly trained and

performed an outcome oriented and unreasonable investigation of Plaintiffs damages. Zamora

did not properly assess all damages caused by the Storm and omitted covered damages from the

report including the full extent of damage to the roof. Zamora refused to fully compensate Plaintiff

for the full amount Plaintiff is entitled under the Policy. The outcome oriented investigation of

Plamtiff s claim resulted in a biased evaluation of Plaintiffs damages to the Property and the

estimated damages were severely underestimated.

           A.      Noncompliance with Texas Insurance Code: Unfair Settlement Practices

33.        Defendant Zamora's conduct constitutes multiple violations of the Texas Insurance Code,

Unfair Settlement Practices.     TEX. INS. C O D E    § 541.060(a). All violations under this article are

made actionable by T E X .   INS. CODE   § 541.151.

34.        Defendant Zamora is individually liable for his unfair and deceptive acts, irrespective of

the fact Zamora was acting on behalf of Allstate, because Zamora is a "person" as defined by T E X .
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INS. C O D E   § 541.002(2). The term "person" is defined as "any individual, corporation, association,

partnership, reciprocal or interinsurance exchange, Lloyds plan, fraternal benefit society, or other

legal entity engaged in the business of insurance, including an agent, broker, adjuster or life and

health insurance counselor." TEX. INS.      CODE   § 541.002(2) (emphasis added). (See also Liberty

Mutual Insurance Co. v. Garrison Contractors, Inc., 966 S.W. 2d 482, 484 (Tex.         1998) (holding

an insurance company employee to be a "person" for the purpose o f bringing a cause o f action

against him or her under the Texas Insurance Code and subjecting him or her to individual

liability)).

35.     Defendants' misrepresentations by means of deceptive conduct include, but are not limited

to: (1) failing to conduct a reasonable inspection and investigation of Plaintiffs damages; (2)

stating that Plaintiffs damages were less severe than they in fact were; (3) using their own

statements about the non-severity of the damages as a basis for denying properly covered damages

and/or underpaying damages; and (4) failing to provide an adequate explanation for the inadequate

compensation Plaintiff received. Defendant Zamora's unfair settlement practices, as described

above, of misrepresenting to Plaintiff material facts relating to the coverage at issue, constitutes

an unfair method of competition and an unfair and deceptive act or practice in the business of

insurance. TEX. INS. CODE § 541.060 (a)(1).

36.     Defendant Zamora's unfair settlement practices, as described above, of failing to attempt

in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

liability under the Policy is reasonably clear, constitutes an unfair method o f competition and an

unfair and deceptive act or practice in the business of insurance.               TEX. INS. CODE §

541.060(a)(2)(A).
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37.         Defendant Zamora failed to explain to Plaintiff the reasons for the offer or offers of an

inadequate settlement.         Specifically, Defendant Zamora failed to offer Plaintiff adequate

compensation without any explanation as to why f u l l payment was not being made. Furthermore,

Defendant Zamora did not communicate that any future settlements or payments would be

forthcoming to pay for the entire losses covered under the Policy, nor was there any explanation

for the failure as described above, of failing to promptly provide Plaintiff with a reasonable

explanation of the basis in the Policy, in relation to the facts or applicable law, for the offer o f a

compromise settlement of Plaintiffs claim, constitutes an unfair method o f competition and an

unfair and deceptive act or practice in the business of insurance. T E X . INS. CODE § 541.060(a)(3).

38.         Defendant Zamora's unfair settlement practices, as described above, of failing within a

reasonable time to affirm or deny coverage of the claim to Plaintiff, or to submit a reservation o f

rights to Plaintiff, constitutes an unfair method of competition and an unfair and deceptive act or

practice in the business of insurance. TEX. INS. CODE § 541.060(a)(4).

39.         Defendant Zamora did not properly inspect the Property and failed to account for and/or

undervalued Plaintiffs roof damage, although reported by Plaintiff to Allstate. Defendant

Zamora's unfair settlement practices, as described above, of refusing to pay Plaintiffs claim

without conducting a reasonable investigation, constitutes an unfair method of competition, and

an unfair and deceptive act or practice in the business of insurance.               TEX. INS. CODE §

541.060(a)(7).

      II.      Causes of Action Against Allstate

40.         Allstate intentionally breached its contract with Plaintiff, intentionally violated the Texas

Insurance Code and intentionally breached the common law duty of good faith and fair dealing.


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        A.      Breach of Contract

41.     Allstate breached the contract of insurance it had with Plaintiff. Allstate breached the

contract by its failure/and or refusal to adequately pay the claim as it is obligated to do under the

terms of the Policy in question and under the laws in the State of Texas.

        B.      Noncompliance with Texas Insurance Code: Unfair Settlement Practices

42.     Defendant Allstate's conduct constitutes multiple violations of the Texas Insurance Code,

Unfair Settlement Practices.   T E X . INS. C O D E   § 541.060(a). All violations under this article were

made actionable by TEX. INS.   CODE    § 541.151.

43.     Defendant Allstate's unfair settlement practice, as described above, of misrepresenting to

Plaintiff material facts relating to the coverage at issue, constitutes an unfair method of competition

and an unfair and deceptive act or practice in the business of insurance. T E X . INS. CODE §

5410.060(a)(1).

44.     Defendant Allstate's unfair settlement practice, as described above, of failing to attempt in

good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though Allstate's

liability under the Policy was reasonably clear, constitutes an unfair method of competition and an

unfair and deceptive act or practice in the business of insurance.                   TEX. INS. CODE §

541.060(a)(2)(A).

45.     Defendant Allstate's unfair settlement practice, as described above, of failing to promptly

provide Plaintiff with a reasonable explanation of the basis in the Policy, in relation to the facts or

applicable law, for its offer of a compromise settlement of the claim, constitutes an unfair method

of competition and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

C O D E § 541.060(a)(3).



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46.     Defendant Allstate's unfair settlement practices, as described above, of failing within a

reasonable time to affirm or deny coverage of the claim to Plaintiff, or to submit a reservation of

rights to Plaintiff, constitutes an unfair method of compensation and an unfair and deceptive act or

practice in the business of insurance. TEX. INS. CODE § 541.060(a)(4).

47.     Defendant Allstate's unfair settlement practice, as described above, of refusing to pay

Plaintiffs claim without conducting a reasonable investigation, constitutes an unfair method of

competition and an unfair and deceptive act or practice in the business of insurance. TEX. INS.

C O D E § 541.060(a)(7).

        C.      Noncompliance with Texas Insurance Code: Prompt Payment of Claims
                Statute

48.     Plaintiff is entitled to 18% interest and attorney fees under TEX.     INS. CODE   §542.060 for

violating the Texas Insurance Code, Prompt Payment of claims TEX. INS. CODE §542.051 et. seq.

49.     Allstate failed to acknowledge receipt of Plaintiff s claim, commence investigation of the

claim, and request from Plaintiff all items, statements, and forms that it reasonably believed would

be required within the applicable time constraints under TEX. INS.     CODE   §542.055.

50.     Allstate failed to notify Plaintiff in writing of its acceptance or rejection of the claim within

applicable time constraints under TEX. INS.   CODE      §542.056.

51.     Allstate delayed the payment of Plaintiffs claim following its receipt of all items,

statements, and forms reasonably requested and required, longer than the amount of time provided

for under T E X . INS. CODE §542.058.

       D.       Breach of the Duty of Good Faith and Fair Dealing

52.    Allstate breached the duty of good faith and fair dealing by failing to adequately and

reasonably investigate and evaluate Plaintiffs claim while it knew or should have known, by the

                                                   11
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exercise of reasonable diligence, that its liability was reasonably clear.

        E.     Knowledge

53.     Each of the acts described above, together and singularly, was done "knowingly" as that

term is used in the Texas Insurance Code.

                                            DAMAGES

54.     Plamtiff would show that all of the aforementioned acts, taken together or singularly,

constitute the producing causes of the damages sustained by Plaintiff.

5 5.    The damages caused by the hail storm and/or windstorm have not been properly addressed

or repaired in the months since the storm, causing further damages to the Property, and causing

undue hardship and burden to Plaintiff.       These damages are a direct result of Defendants'

mishandling of Plaintiff s claim in violation of the laws set forth above.

56.    For breach of contract, Plaintiff is entitled to regain the benefit of their bargain, which is

the amount of her claim, together with attorney's fees.

57.    For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff

is entitled to actual damages, which include the loss of the benefits that should have been paid

pursuant to the policy, court costs, and attorney's fees. For knowing conduct of the acts described

above, Plaintiff ask for three times their actual damages. TEX. INS. CODE § 541.152.

58.    For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is

entitled to the amount of the claim, as well as 18% (eighteen percent) interest per annum on the

amount of such claim as damages, together with attorney's fees.     T E X . INS. CODE   § 542.060.

59.    For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

compensatory damages, including all forms of loss resulting from the insurer's breach of duty,


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 such as additional costs, economic hardship, losses due to nonpayment of the amount the insurer

 owed, exemplary damages and damages for emotional stress.

60.      For the prosecution and collection of this claim, Plaintiff has been compelled to engage the

services of the attorney whose name is subscribed to this pleading. Therefore, Plaintiff is entitled

to recover a sum for the reasonable and necessary services of Plaintiff's attorney in the preparation

and trial of this action, including any appeals to the Court of Appeals and/or the Supreme Court of

Texas

                                         J U R Y DEMAND

61.      Plamtiff hereby demands a trial by jury and tender the appropriate fee.

                                        DISCOVERY REQUESTS

62.      Pursuant to Texas Rules of Civil Procedure 194, Plaintiff requests that each Defendant

disclose, within 30 days of service of this request, the information or materials described in Texas

Rule of Civil Procedure 194.2(a>(l).

63.      Defendants are requested to respond to the attached interrogatories and requests for

production within fifty (50) days.

                                             PRAYER

64.     WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that this court site Defendants

to appear and answer herein and that Plaintiff has judgment taken against Defendants and recovers

from Defendants all damages allowed by law, and that Plaintiff be awarded attorneys' fees for trial

and any appeal of this case, for pre-judgment and post judgment interest as allowed by law, costs

of court, and such other and further relief, both general and special, at law or in equity, to which

Plaintiff is justly entitled.



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                              Respectfully submitted,

                              T H E POTTS L A W F I R M , L L P



                              /s/Matthew J. Worrall
                              Matthew J . Worrall
                               SBN: 24070883
                              William H. Barfield
                              SBN: 24031725
                              Andrew A. Woellner
                               SBN: 24060850
                               100 Waugh Drive, Suite 350
                              Houston, Texas 77007
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                                      lmworrall@potts-law.com
                                       wbarfield@potts-law.com
                                       awoellner@potts-law.com

                              ATTORNEYS FOR PLAINTIFF




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                   Case 4:16-cv-00774 Document 1-2 Filed in TXSD on 03/24/16 Page 19 of 35                                                                                                     Filed
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                                                                  CIVTJL C A S E I N F O R M A T I O N S H E E T                                                                    Annie Rebecca Elliott
                                                             16-DCV-229825                                                              F o r t   B   e    n   d
                                                                                                                                                                   County      240th Judftata'ttBlsto-ict
              C a u s e N u m b e r (FOR CLERK USE ONLY)'.                                                     . COURT (FOR CLERK USE ONLY) :
                                                                                                                                                                               "Toil Bend County, Texas
                 STYLED Alicia Fortes v. Ailstate Vehicle and Property Insurance Company and Mollie Zamora                                                                        Debra Elizondo
                                  (e.g., John Smith v. All American Insurance Co; InreMary Ann /ones; In the Matter of the Estate of George Jackson)
  A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
  health case or when a post-judgment^etition for modification or motion for enforcement is filed in a family law case. The infoimation should be the best available at
  the time of filing.

                                                                                      Names of parties in case:                                             : l'eixon or entity completing sheet is:
                                                                                                                                                          ID Attorney for Plaintiff/Petitioner
 Name:                                                                                Plamnff(s)/Petitioner(s):                                           OPro Se Plaintiff/Petitioner
                                                                                                                                                          • T i t l e IV-D Agency
                                                                                      Alicia Fortes                                                       •Other:


                                                                                                                                                      Additional Parties in Child Support Case:

                                                                                     Defendant(s)/Rcspondent(s):                                          Custodial Parent:
                                                                                      AUstate Vehicle and Property
                                                                                                                                                      Non-Custodial Parent:
                                                                                      Insurance Company and
 Signature:
                                                                                     Mollie Zamora                                                    Presumed Father:
                                                                                     [Attach additional page as necessary lo list all parties]

 2. Iiulitate case type, or identify the most importan t isjitfc in thcsa&gjselectdnly I)
                                                                                                                                              Family Law
                                                                                                                                                       il'ost-judgmeiit Actions
              Contract                     Injury or I)i                                                                 Marriage Relationship              (non-Title IV-D)
 Debt/Contract                        •Assault/Battery                                                                  •Annulment                   •Enforcement
    •Consumer/DTPA                    •Construction                                                                     •Declare Marriage Void       •Modification—Custody
    •Debt/Contract                    •Defamation                                                                       Divorce                      •Modification—Other
    QFraud/Misrepresentation          Malpractice                                                                          • W i t h Children                  Title IV-D
    •Other Debt/Contract:                •Accounting                                                                       • N o Children           •Enforcement/Modification
                                         •Legal                                                                                                     •Paternity
Foreclosure                              •Medical                                                                                                   •Reciprocals (UIFSA)
  •Home Equity—Expedited                 •Other Professional                                                                                        •Support Order
  l~T Other Foreclosure                    Liability:
•Franchise
Hlnsurance                            • M o t o r Vehicle Accident                                                                                                     : I'arcnt-Child Relationship
•Landlord/Tenant                      •Premises                              QExpuncti                                     Enforce Foreign                            •Adoption/Adoption with
QNon-Competition                      Product Liability                      •JudgjHtmtMi                                   iudgment                                      Tennination
•Partnership                            •Asbestos/Silica                     •Nondisclosure                               [Habeas Corpus                              • C h i l d Protection
•Other Contact:                         •Other Product Liability             •SeizuWForfeiture                          •Name Change                                  • C h i l d Support
                                            List Product:                    • W r i t of Habeas^28ipus7                         five Order                           •Custody or Visitation
                                                                                Pre-mdictmprft                             RemovaNsf Disabilities                     •Gestational Parenting
                                      •Other Injury or Damage:               •Other: _                                               t>                               •Grandparent Access
                                                                                                                          lOtber:                                     •Parentage/Paternity
                                                                                                                                                                     ^•Termination of Parental
        Employment                                                 Other Civil                                                                                      ^XRights
•Discrimination                        •Administrative Appeal
                                                                                                                                                                    \ZJOther Parent-Child:
                                                                          •Lawyer Discipline
•Retaliation                           •Antitrust/Unfair                  •Perpetuate Testimony
•Termination                              Competition                     •Securities/Stock
•Workers' Compensation                 • Code Violations                  •Tortious Interference
•Other Employment:                     •Foreign Judgment                  •Other:.
                                       •intellectual Property

               Tax                                                                           Probate & Menial Health
 • T a x Appraisal                    Prohate/Wilis/Iniestate     Administration                       •Guardi anship-JfAdi/lt
 • T a x Delinquency                     •Dependent Administration                                     •Guardianship—^finV"
 •Other Tax                              •independent Administration                                   •Mental Health
                                         •Other Estate Proceedings                                     •Other:

3;Tridicate^
 •Appeal from Municipal or Justice Court                        •Declaratory Judgment                                              •Prejudgment itemed
 •Arbitration-related                                           •Garnishment                                                       •Protective Order <
 •Attachment                                                    •interpleader                                                      •Receiver
 • B i l l of Review                                            •License                                                           •Sequestration
 •Certiorari                                                    •Mandamus                                                          •Temporary Restraining Order/Injunction
 •Class Action                                                  •Post-judgment                                                     •Turnover
^Indicatedamagesbought (iloiioi select.if U
 •Less than $ 100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
 •Less than $100,000 and non-monetary relief
 • O v e r $100,000 but not more than $200,000
 13Over $200,000 but not more than $ 1,000,000
 • O v e r $1,000,000
                                                                                                                                                                                     Rev 2/13
                     Case 4:16-cv-00774 Document 1-2 Filed in TXSD on 03/24/16 Page 20 of 35
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                                                                                                                                       District Clerk
                                                 ANNIE R E B E C C A ELLIOTT                                               Fort Bend County, Texas
                                                                                                                            Debra Elizondo
                                               Fort Bend County District Clerk
                                             301 Jackson, Richmond, TX 77469
                                                   REQUEST FOR PROCESS
                                         I sections must be completed for processing this request.
 Section 1:
 Cause N6.                                                                                     Date
 Style:



 Allstate Vehicle and Br6g                               urance Company and Mollie Zamora

 Section 2:
 Check Process Type:                                                                  Fort Bend County - 240th Judicial District Court

 HI Citation            •      Precept te^Sert/e         yfaticsLgf    iaring     •   Temporary Restraining Order
 •    Application for Protective Ord^r //Temporal                           :x Parte) Protective Order
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•     Writ of                                                           a
•     Citation by Publication* - Newspaper?
* (AH publications are sent to: Fort Bend I n d e p e n d j e n t X b , Box 6,                       Court) • Sugar Land, Texas 77487)
* (Unless another newspaper is specified - FBC Constable                                             eir jurisdiction.)

APPLICATION FOR ISSUANCE OF SUBPOE                                                           MITTED ON A SEPARATE FORM
Section 3:                                                                        /
Title of Document/Pleading to be attached<^r^ep                                                        inal Petition




            Npte:|YxHiMustfurnlsh one                  copyiof        the^ocuirnenl/p

section4:        PARTIES TO BE SERVED (Please type or print):
                         s t a t e
1, N a m e ; ^ "                     Vehicle and Property Insurance Company
                                     T
     Address:                    C        Corporation, 1999 Bryan Street, Suite 90
     C i t v :   Dallas                                                 State: Texas
2 [\j      a m e :   Mollie Zamora
     A d d r e s s :    PO Box 672041
                 Dallas                                                 State: TX
     C i t v :
                                                                                                                    Zip:•75267
Request Process Form
Revised: 2014/12                                                        2 of 2
              Case 4:16-cv-00774 Document 1-2 Filed in TXSD on 03/24/16 Page 21 of 35


 3. Name:
     Address:
     City:                                               State:                           Zip:_
4. Name:




Section 5

Check Service Typ
•           No Service                                           Secretary of State
•           Sheriff                                              Commissioner of Insurance
•           Constable Pet,                                               ounty
•           Out of State                                                    cess
            Certified Mail                                                    ail (Out of Country)
Section 6 (ONLY if Section 7 does not apply)

Attorney Name: Matthew J. Worrall
                 0   0
Address: i               Waugh Drive, Suite 350
                                                       Street/Fsp^ox
                Houston                                          Texa
                                       City

Attorney's Telephone No. 713-963-8881
Section 7 (ONLY if Section 6 does not apply)

Pro-Se Name:
Address:



Telephone No
Section 8

Check Delivery Type:
•     Hold for pick up                 O Mail to Attorney        O Mail to Pro-Se Party
Request Process Form
Revised: 2014/12                                        2 of 2
                    Case 4:16-cv-00774 Document 1-2 Filed in TXSD on 03/24/16 Page 22 of 35



SERVICE FEE COLLECTED
  BY DISTRICT CLERK                                          THE STATE OF TEXAS

                                                                     CITATION

                  TO:    AJ^STATE VEHICLE AND PROPERTY INSURANCE COMPANY
                          tEGJSTERED AGENT C T CORPORATION
                         |999 BRYAN S T R E E T SUITE 900
                          DALLAS TX 75201-

                  NdTIGE:

                                     been suegXYou may employ an attorney. If you or your attorney do not file a written
                  answer wtftiihe-clerk who-lss^ied this citation by 10:00 a.m. on Monday next following the expiration of
                  twenty days after youiw^reisejQ/ed-this citation and PLAINTIFF'S ORIGINAL PETITION filed on FEBRUARY
                  08, 2016, a default^^gn^ertt maV bktaken against you. Said answer may be filed by mailing to the District
                  Clerk's Office at<30iJackson StreetA Richmond, Texas 77469, or by bringing said answer to the physical
                  address at 1422\Eidgene Heimajjii Cjrcle, Richmond, Texas 77469. We are located on the first floor of the
                  Courthouse building.

                            The case is pre^ntjy^enatog^befo^^         JUDICIAL DISTRICT COURT of Fort Bend County
                  sitting in Richmond, Tex«< and/itasJtecTon^f EB^RUARY 08, 2016. It bears cause number 16-DCV-229825
                  and is styled:

                  ALICIA FORTES VS ALLSTATE VEHICLE AND PR                               INSURANCE COMPANY AND MOLLIE
                  ZAMORA

                          The name and address of the                                        TITIONER is:

                  MATTHEW J . WORRALL
                  THE POTTS LAW FIRM LLP
                  100 WAUGH DRIVE SUITE 350
                  HOUSTON TX 77007
                  713-963-8881

                          The nature of the demands of said PLAINTIFFOR/PETn                         is shown by a true and correct
                  copy of the PLAINTIFF'S ORIGINAL PETITION accof^parrying Ws i                     artd^made a part hereof.

                          If this Citation is not served, it shall be returned uns                        my harjdsand seal of said
                  Court, at Richmond, Texas, on this the 17th day of Februar
                                                                                     V
                                                                    DISTRICT CL
                                                                    Fort Bend Coun



                                                                    By:
                                                                          Deputy District Clerk DEBRA|
                                                                          Telephone: (281) 344-3959




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    Case 4:16-cv-00774 Document 1-2 Filed in TXSD on 03/24/16 Page 23 of 35




 16-DCV-229825                                                                   240th Judicial District Court
 Alicia Fortes vs Allstate Vehicle and Property Insurance Company and Mollie Zamora


                                        CERTIFICATE OF DELIVERY B Y CERTIFIED MAIL


            Came to hand onihe                   8th day of February. 2016 at 2: 51 p.m. o'clock and executed at
         STERED AGENTCORPORATION                                1999 BRYAN S T R E E T SUITE 900                 DALLAS TX 75201-
              the February 17<2016. by delivering to the within named ALLSTATE VEHICLE AND PROPERTY
                                           ^gistered or certified mail, with delivery - restricted to addressee only, return
 receipt requested, a tn                           this citation together with the accompanying copy of the petition were
attached thereto


 Fee            $8.0rjissuance


CMRRR# 9414 7266 9


                                                                                  STRICT CLERK A N N I E R S | ^ a ^ P TT
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        Clerk District (     .Fort Bend Co.,TX                                                iprctClerk DSfofaElizondo ^              • ^ :-
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C O M P L E T E IF Y O U A R E A P E R S O N O T H E R T H A N N ^ E R I F F . ^ N S T A B L E . O R C L E R K O F T H E C O U R T .
In accordance with Rule 107: The officer or authorized person who serves, ofa'ttempts to serve, a citation shall sign the return. The
signature is not required to be verified. If the return is signed by a pereon^fher thjura^neffif^constable, or the clerk of the court, the
return shall be signed under penalty of perjury and contain the following statemen

"My name i s .                                                                                                           my date of birth is
                 (First, Middle, Last)

                                                 and my address is




I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUi^AND

Executed in                                                      County, State of

on the day of                                                            .




(Id # & expiration of certification)
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Citation (By Certified Mail) issued to Allstate Vehicle and Property Insurance Company on 2717/2016.
            Case 4:16-cv-00774 Document 1-2 Filed in TXSD on 03/24/16 Page 24 of 35




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  SERVICE FEE COLLECTED
    BY DISTRICT CLERK
                                                                 THE STATE OF TEXAS

                                                                        CITATION

                      TO:




                             \)Tou havejseen sued \ Y o u may employ an attorney. If you or your attorney do not file a written
                      answer wTtrrtheclerk who issued this citation by 10:00 a.m. on Monday next following the expiration of
                      twenty days after yoj^re-setve^Itfois citation and PLAINTIFF'S ORIGINAL PETITION filed on FEBRUARY
                      08, 2016, a defa^jjqudgrtient may\be\taken against you. Said answer may be filed by mailing to the District
                      Clerk's Office a^3pVjackson Street,) Richmond, Texas 77469, or by bringing said answer to the physical
                      address at 1422 t u g e n e Heimann Circle, Richmond, Texas 77469. We are located on the first floor of the
                      Courthouse building.

                                The case is preset, iy pepding          240TH JUDICIAL DISTRICT COURT of Fort Bend County
                      sitting in Richmond, Texas, ancfwa:                iUARY 08, 2016. It bears cause number 16-DCV-229825
                      and is styled:

                      ALICIA F O R T E S VS A L L S T                                    SURANCE COMPANY AND MOLLIE
                      ZAMORA

                              The name and address of the attorney                            XIONER is:

                      MATTHEW J . WORRALL
                      THE POTTS LAW FIRM LLP
                      100 WAUGH DRIVE SUITE 350
                      HOUSTON TX 77007
                      713-963-8881

                              The nature of the demands of said PLAINTI              PEJITTONERis shown by a true and correct
                      copy of the PLAINTIFF'S ORIGINAL PETITION accoi                  ispttMf]6lT^nd\rnade a part hereof.

                              If this Citation is not served, it shall be returned unserved. Issued upider my hantf^and seal of said
                      Court, at Richmond, Texas, on this the 17th day of February, 2016.             \ y    ^   \ x

                                                                       DISTRICT CLEKrvANI^JE R F « £ ™ ^ R l ^ w o r m . , ^
                                                                       Fort Bend CountyrTexas




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    Case 4:16-cv-00774 Document 1-2 Filed in TXSD on 03/24/16 Page 29 of 35




16-DCV-229825                                                                   240th Judicial District Court
Alicia Fortes vs Allstate Vehicle and Property Insurance Company and Mollie Zamora



                                       CERTIFICATE OF DELIVERY BY CERTIFIED MAIL


          'Came to hand on th&itth day of February, 2016 at 2: 51 p.m. o'clock and executed at PO BOX
6712041       DALLAS T X / f 5 2 6 7 ; on the February 17, 2016. by delivering to the within named MOLLIE
ZAjUjOftA by regjstereaVor certified mail, with delivery - restricted to addressee only, return receipt
request^d^a^rue^perpy ofjfjjs^itation together with the accompanying copy of the petition were attached
thereto.

Fee             $8.0fl1sstfance + $80.fto Service = $88.00


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                                                                             DISTRICT CLERK ANNIE REBECC^j^LIOTT
             P I L E                                                             Bend County, Texas     SS7

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COMPLETE IF YOU ARE A PERSON OTHER THAI<A SHERIFF. CjS^STABLE. OR C L E R K OF THE                                      feoufe.;-'-^*
In accordance with Rule 107: The officer or authorized person who served or attempts to serve, a citation shall sign the return. The
signature is not required to be verified. If the return is signed by a person ojher than^sbeoff, constable, or the clerk of the court, the
return shall be signed under penalty of perjury and contain the following statements

"My name is.                                                                                                     , my date of birth is
                 {First, Middle, Last)

                                          , and my address is




I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TF^JE

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on the day o f .




(Id # & expiration of certification)

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Citation (By Certified Mail) issued to Mollie Zamora on 2/17/2016.
Case 4:16-cv-00774 Document 1-2 Filed in TXSD on 03/24/16 Page 30 of 35
                                          Case 4:16-cv-00774 Document 1-2 Filed in TXSD on 03/24/16 Page 31 of 35




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                                                                                                                              District Clerk
                                                                                                                  Fort Bend County, Texas
                                                                                                                       Layla Helton

                                          CAUSE NO. 16-DCV-229825

A L I C I A FORTES,                                             §     I N THE DISTRICT COURT OF
                                                                §
          Plaintiff,                                            §
                                                                §
v.                                                              §     FORT BEND COUNTY, TEXAS
                                                                §
A L L S T A T E VEHICLE A N D PROPERTY                          §
INSURANCE COMPANY and M O L L I E                               §
ZAMORA,                                                         §
                                                                §
          Defendants.                                           §     240th JUDICIAL DISTRICT

                      D E F E N D A N T A L L S T A T E V E H I C L E AND P R O P E R T Y
        I N S U R A N C E C O M P A N Y AND M O L L I E Z A M O R A ' S O R I G I N A L A N S W E R

TO THE HONORABLE JUDGE OF SAID COURT:

          Defendant A L L S T A T E V E H I C L E AND P R O P E R T Y INSURANCE C O M P A N Y and M O L L I E Z A M O R A


(collectively, "Defendants") file this Original Answer to Plaintiffs Original Petition and would

respectfully show to the Court the following:

                                                     I.
                                              ORIGINAL ANSWER

          Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendants generally denies

each and every, all and singular, allegation contained within Plaintiffs Original Petition, and

demands strict proof then by a preponderance of the credible evidence in accordance with the

Constitution and laws of the State of Texas.

                                                        II.
                                                      PRAYER

         Defendants Allstate Vehicle and Property Insurance Company and Mollie Zamora pray that

upon final trial and hearing hereof, Plaintiffs recovers nothing from Defendants, but Defendants

goes from here without delay and recovers costs of court and other such further relief, both

general and special, to which Defendants may be justly entitled.



Defendants' Original Answer                                                                                      Page 1
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    Case 4:16-cv-00774 Document 1-2 Filed in TXSD on 03/24/16 Page 35 of 35




                                           Respectfully submitted,


                                           /s/ Roger D. Hiseins
                                           Roger D. Higgins
                                           State Bar No. 09601500
                                           John B. Reyna
                                           State Bar No. 24098318
                                           THOMPSON, COE, COUSINS & IRONS, L.L.P.
                                                                  th
                                           700 N . Pearl Street, 2 5 Floor
                                           Dallas, Texas 75201
                                           Telephone: (214) 871-8200
                                           Telecopy: (214) 871-8209
                                           Email: rhiggins@thompsoncoe.com
                                           Email: irevna@thompsoncoe.com

                                           ATTORNEYS FOR DEFENDANT A L L S T A T E
                                           V E H I C L E AND P R O P E R T Y I N S U R A N C E
                                           C O M P A N Y AND M O L L I E Z A M O R A




                               C E R T I F I C A T E OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served by
electronic file notification and/or facsimile to the following counsel on March 18, 2016:

         Matthew J. Worrall
         William H. Barfield
         Andrew A. Woellner
         100 Waugh Drive, Suite 350
         Houston, Texas 77007
         Telephone: (713) 963-8881
         Facsimile: (713) 574-2938
         Email: mwoiTall@potts-law.com
         Email: wbarfield@potts-law.com
         Email: awoellner@potts-law.com

         ATTORNEYS FOR PLAINTIFF




                                          Isi John B. Reyna
                                          John B. Reyna


Defendants' Original Answer                                                               Page 2
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